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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
______________________________
                               )
UNITED STATES OF AMERICA )
                               )
            v.                 )        Criminal No. 21-10104-PBS
                               )
VLADISLAV KLYUSHIN,            )
                               )
            Defendant.         )
______________________________)

                            [PROPOSED] PROTECTIVE ORDER

       Upon consideration of the government’s assented to Motion for a Protective Order, it is

hereby ORDERED that:

       1) The discovery materials produced by the government in this case may be used by the

defendant, defendant’s counsel and any employees or agents of defendant’s counsel solely in the

defense of this case and for no other purpose and in connection with no other proceeding.

       2) Defendant’s counsel and defendant shall not disclose any discovery materials, directly

or indirectly, to any other person except those assisting the defense, persons who are interviewed

as potential witnesses, potential experts, or other authorized persons, during the course of the

investigation and defense of this case.

       3) Except as set forth below, copies of discovery materials may only be shown to, and not

given to, potential witnesses. Defendant’s counsel shall redact any personally identifying

information—including, but not limited to, dates of birth, home addresses, names of minor

children, and financial account numbers of third parties (“Confidential Information”)—from the

copies of materials shown to such witnesses. However, if the materials shown to a particular

witness contain Confidential Information of that particular witness, such Confidential

Information need not be redacted from the materials shown to or played for that witness. In the
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case of any expert witness, defendant’s counsel is permitted to disclose unredacted discovery

materials to said expert witness so long as the expert witness (a) has signed the attached

Agreement To Be Bound By Order and this signed document has been filed with the Court as set

forth in Paragraph 4 below, and (b) returns all discovery materials, and any copies thereof, to

defendant’s counsel at the conclusion of the case.

       4) When disclosing discovery materials as set forth herein, defendant’s counsel must

inform the recipient that the materials are provided subject to the terms of this Protective Order

and that the recipient must comply with the terms of this Protective Order. Each potential

witness to whom such disclosure is made shall sign the attached Agreement To Be Bound By

Order, and defendant’s counsel shall file such an endorsed copy with the Court. Such filings

may be made ex parte and under seal.

       5) Defendant’s counsel shall inform the defendant of the provisions of this Protective

Order, and direct him not to disclose or use any information contained in the government=s

discovery in violation of this Protective Order.

       6) All discovery materials shall be destroyed by defense counsel or returned to counsel

for the government at the conclusion of this case.




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       Nothing contained in the Protective Order will preclude any party from applying to the

Court for further relief or for modification of any provision hereof.



DATED:_______________

                                              __________________________________________
                                              THE HONORABLE MARIANNE B. BOWLER
                                              UNITED STATES MAGISTRATE JUDGE




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                          AGREEMENT TO BE BOUND BY ORDER


              I hereby acknowledge that I have read the contents of the above protective order
entered in United States v. Vladislav Klyushin, 21-CR-10104-PBS, and have had the terms
explained to me. I agree that the order applies to me, that I am bound by its terms, and that I shall
comply with its terms.


                                                              ________________________
                                                              NAME:


                                                              ________________________
                                                              DATE
